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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
               James M. Ashley and Thomas W.L. Ashley U.S. Courthouse

Ohio Northern University, et al.
                                      Plaintiff,
v.                                                   Case No.: 3:25−cv−00097−JZ
                                                     CIVIL CASE
                                                     MANAGEMENT PROCEDURES
                                                     Judge Jack Zouhary
Scott Gerber
                                      Defendant.




   Unless otherwise ordered, counsel should be prepared to comply with the following
case management practices designed to advance the promise of Federal Civil Rule 1.
1. Initial Procedures
     • Case Intake

      When a new case is assigned to Judge Z, a member of Chambers staff typically
      contacts Plaintiff's counsel with a few routine, non−substantive intake questions.
      E.g., is the identity of defense counsel known? Have the parties engaged in any
      pre−filing settlement discussions?
      Once Defendant enters an appearance (or sometimes sooner, if defense counsel is
      already known), Chambers staff will contact counsel for both sides to schedule an
      Initial Telephone Conference.


     • Initial Telephone Conference

      Counsel should be prepared to bring Judge Z up to speed on the facts of the case,
      any settlement discussions, and any key issues that have emerged so far. Judge Z
      will then set a Case Management Conference (CMC) −− preceded by a Settlement
      Conference, if requested (see below).
      NOTE: No Motions to Dismiss may be filed before the Initial Telephone
      Conference. Judge Z requires counsel to discuss the basis for any Motion to
      Dismiss and routinely grants Plaintiff an opportunity to amend the Complaint to
      cure any perceived defect. If the answer date falls before the Initial Telephone
      Conference, the deadline will be automatically tolled to allow counsel to discuss
      any motion practice.

      Judge Z encourages counsel to evaluate jurisdictional or other strictly legal issues
      that can be resolved early in the case, with little or no discovery.
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 • Initial Disclosures
  Judge Z takes a robust view of the initial disclosure requirement under Federal Civil
  Rule 26(a)(1). He requires the parties to turn their cards over at the beginning of the
  case −− that means both sides must produce actual documents, not just a list of
  responsive items. Judge Z typically requires parties to complete their disclosures
  before the CMC, so the Court and counsel can agree on a realistic case schedule.

2. Settlement & Case Management Conferences

  At the request of counsel, Judge Z will hold a "combo" Settlement and Case
  Management Conference. This means he first assists the parties in making
  good faith settlement efforts. If the case does not resolve, he then proceeds to
  discuss a case schedule.
  If the parties wish to discuss resolution, counsel and representatives with full
  settlement authority must attend in person or remotley, unless excused. If the
  conference is limited to setting a case schedule, Judge Z will allow counsel
  to attend by phone or Zoom −− but counsel and clients are always welcome
  to attend in person.
  If, during the course of the case, counsel reach agreement to adjust discovery
  deadlines, court approval is not needed −− as long as those extensions do
  not affect the trial date. Judge Z will not extend a previously set trial month
  or date absent good cause −− really good cause.

3. Motions Practice


 • General Rules
  Unless otherwise ordered, counsel are expected to adhere to the requirements of
  Local Civil Rule 7.1 regarding response deadlines and page limits. No reply briefs
  may be filed without prior authorization. Judge Z will hold oral argument if he
  believes it will be helpful and often submits questions in advance of the hearing. He
  also encourages newly minted lawyers to argue whenever possible.

  Briefs shall be double−spaced (except for the block quotes), in a font not less than
  12 points in size, with margins of not less than one inch. All documents must be
  text−searchable PDFs. Footnotes are strongly discouraged.

  Counsel shall promptly submit to Chambers a bound and tabbed courtesy hard copy
  of all briefing with supporting materials. While full deposition transcripts are
  separately filed by counsel on ECF, the courtesy copy should only contain
  deposition cover sheets and pages referenced in the briefing, with the relevant
  language highlighted.

 • Artificial Intelligence
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     If any attorney for a party, or a pro se party, has used Artificial Intelligence
     (â€œAIâ€) in the preparation of any filing with the Court, they must, in a clear
     and plain factual statement, disclose whether AI has been used in any way in the
     preparation of the filing, and certify that each legal citation, or record reference in
     the filing, has been verified as accurate. Judge Z reminds counsel that any filing
     prepared with the assistance of AI is subject to Rule 11.
    • Discovery Disputes
     Judge Z takes seriously the 2015 Federal Civil Rule Amendments and the mandate
     that discovery must be proportional to the needs of the case. Parties are encouraged
     to conduct themselves accordingly.
     No Motion to Compel, Motion for Protective Order, or Motion for Sanctions may
     be filed unless the parties have made good faith efforts to resolve the discovery
     dispute. If they are unable to do so, counsel must contact Chambers to request a
     Telephone Conference. Local Civil Rule 37.1 governs discovery disputes, and
     counsel are expected to comply with the procedures outlined in that Rule.
    • Summary Judgment

     Much like discovery motions, Motions for Summary Judgment may not be filed
     unless the parties have conferred in good faith and exchanged letters outlining their
     respective positions with legal authorities.
     If a party intends to move for summary judgment, counsel shall meet and confer
     about the merits of the proposed motion. If the moving party still intends to file, it
     shall briefly outline, in letter format, the merits of the motion, including critical
     record and legal citations. Opposing counsel shall respond in writing, specifically
     identifying genuine disputes of material fact that preclude summary judgment on
     those claims. These letters should not be full briefs; they are intended to be short
     and succinct outlines. Bullet points are encouraged. See Judge Zâ€™s website
     (Standing Orders) for sample Letters.
     https://www.ohnd.uscourts.gov/content/judge−jack−zouhary
     The letters shall be ECF−filed as a joint attachment to a Motion for a Telephone
     Conference with this Court. Judge Z will then hold a Conference to discuss the
     basis for the Motion and, if appropriate, set a briefing schedule. Counsel should be
     prepared to identify the key issues and points of disagreement.
  4. Civility

     Judge Z reminds counsel of the importance of civility in their interactions
     with colleagues both in and out of the courtroom. He expects lawyers to
     maintain the highest standards of professionalism, both as a courtesy, and as
     a necessity to effectively represent their clients.


IT IS SO ORDERED.


                                                                   /s Jack Zouhary
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                                                   JACK ZOUHARY
                                             U.S. DISTRICT JUDGE
